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                                        UNITED STATES DISTRICT COURT                           Z~t~ A~ 27 AM ~ I
                                       CENTRAL DISTRICT OF CALIFORNIA

     RQ~~.~ i ~r~y~; ~~                                         CASE NUMBER:
                                                                                                    ,..~~;:~ +N~~LE~
                                                  Plaintiffs)
                              V.
                                                                   ADA DISABILITY ACCESS LITIGATION:
                                      c;~ ~x...p
     ~ A' G ~n~-tn ~Z ~.~e 5,L_ L C ,                                    APPLICATION FOR STAY
                                                Defendants)              AND EARLY MEDIATION


1.     Party (name): ~u r YYt E' Y~ ~~~ S p-~                         requests a stay of proceedings and early
       mediation through the Court's ADR Program
2.     The complaint in this case asserts a claim under Title III of the Americans with Disabilities Act("ADA"),
       42 U.S.C. g4 12181-12189.
3.     The party filing this Application for Stay and Early Mediation requests that the Court:

       a.   Stay these proceedings;

       b.   Schedule an early mediation through the Court's ADR Program;

       c.   Order Plaintiff to file with the Court and serve on Defendants) within fourteen (14) days of the date
            of the Order granting Application for Stay and Early Mediation a statement that includes the
            following:
            1)      An itemized list of specific conditions on the subject premises that are the basis of the claimed
                    violations of the ADA;and
            2)      An itemized list of damages and, for each item, the amount sought.

       d.   Order Defendant to file with the Court and serve on Plaintiffs) at least ten (10) days before the date
            set for the early mediation any evidence Defendant intends to rely upon to support a claim that the
            alleged violations have been remedied or that no violation exists.


Date:            ~/IZ~- ~ ~p ~ g



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                    Type or Print Name                           Signature ofAtforney (or Party ~~ithout Attorney)




                           Opposition to this Application for Stay and Early Mediation
                      must be filed no later than seven (7) days from the date of service of this
                                     Application for Stay and Early Mediation.



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